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                              UNITED STATE DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 16-CV-21575-MORENO/O’SULLIVAN

  ALEXANDRE DACCACHE, CARLOS
  ENRIQUE HILLER SANCHEZ, PHILIP
  CALDERWOOD, JOSE ANTONIO PIETRI,
  JOSE R. CASSERES-PINTO, TONGYI
  WANG, JAMES B. SHAW, JOHANNES
  EIJMBERTS, and LORNE MORRIS on
  behalf of themselves and all others similarly
  situated,

               Plaintiffs,

  v.

  RAYMOND JAMES & ASSOCIATES, INC.,
  PEOPLE’S UNITED FINANCIAL, INC.,
  as successor-in-interest to Chittenden Trust
  Company, PEOPLE’S UNITED BANK,
  ARIEL QUIROS, WILLIAM STENGER and
  JOEL BURSTEIN,

             Defendants.
  ______________________________________/

                AMENDED ORDER RE-SETTING HEARING ON MOTIONS

        THIS MATTER is before the Court on Raymond James & Associates, Inc.’s

  Motion to Dismiss (DE # 108, 9/19/16), Defendant Joel Burstein’s Motion to Dismiss the

  Amended Class Action Complaint and Incorporated Memorandum of Law (DE# 109,

  9/19/16), the Motion to Dismiss the Amended Complaint and Supporting Memorandum

  of Law of Defendants People’s United Financial, Inc. and People’s United Bank, N.A.

  (DE# 111, 9/30/16), Defendant Ariel Quiros’s Motion to Dismiss Amended Class Action

  Complaint and Supporting Memorandum of Law (DE# 114, 9/30/16) and the related

  requests for judicial notice (DE# 115, 151-152). Having reviewed the applicable filings
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  and law, it is

          ORDERED AND ADJUDGED that the aforementioned motions are set for

  hearing before the undersigned on Wednesday, April 19, 2017, at 1:30 PM in the C.

  Clyde Atkins United States Courthouse, 301 North Miami Avenue, 5th Floor, Miami,

  Florida. Request for a continuance shall only be addressed in the form of a written

  motion. The hearings previously set for March 13, 2017 and April 17, 2017 are

  CANCELLED.

          DONE AND ORDERED in Chambers at Miami, Florida, this 8th day of March,

  2017.




                                           JOHN J. O’SULLIVAN
                                           UNITED STATES MAGISTRATE JUDGE
  Copies provided to:
  United States District Judge Moreno
  All Counsel of Record
